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1    WILLIAM J. PORTANOVA, State Bar No. 106193
     Attorney at Law
2
     400 Capitol Mall, Suite 1100
3    Sacramento, CA 95814
     Telephone: (916) 444-7900
4    Fax: (916) 444-7998
     Portanova@TheLawOffices.com
5

6
     Attorney for Lynn Ferrell Smith
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8                                 UNITED STATES DISTRICT COURT
9
                                 EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,           )                 Case No. 2:12-cr-00255-GEB
                                         )
12
                       Plaintiff,        )                 STIPULATION AND [PROPOSED]
13                                       )                 ORDER RE: DEFENDANT’S
          v.                             )                 REQUEST TO CONTINUE
14                                       )                 SELF-SURRENDER DATE
     LYNN FERRELL SMITH,                 )
15
                                         )
16                     Defendant.        )
     ____________________________________)
17

18                                          INTRODUCTION
19          With the Court’s permission, the defendant, Lynn Smith, and the United States of
20   America, by and through its undersigned counsel, hereby request and stipulate that the
21   defendant Smith’s self-surrender date be continued from March 10, 2014 at 2:00 p.m. to May
22   12, 2014 at 2:00 p.m. This continuance is necessary for the defendant make necessary
23   arrangements for the financial security of his family.
24                                     REASONS FOR REQUEST
25          On January 7, 2014, defendant Smith was sentenced by this Court to serve 42 months
26   incarceration pursuant to his earlier guilty pleas to marijuana cultivation and distribution
27   charges arising out of his involvement with so-called marijuana dispensaries (21 USC 841 and
28   846). Mr. Smith was ordered to self-surrender on March 10, 2014 at 2:00 p.m.
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1           According to Smith’s counsel, Smith’s incarceration necessitates the sale of his home
2    and preparations for said sale are ongoing, but cannot be completed in the time presently
3    allowed. Specifically, Smith, a contractor, is repairing the home so as to make it salable, and
4    that work continues. Smith’s wife is unable to maintain the residence on her nurse’s salary
5    alone. While this work cannot be completed by Mr. Smith before his currently set date for self-
6    surrender, it is expected that the necessary work will be completed by Mr. Smith and the house
7    will be marketed within the additional time requested.
8           According to Pre-Trial Services, Mr. Smith has been fully compliant with the terms of
9    his pre-trial release. The United States Attorney’s office has no objection to this single request,
10   but future requests for delay will likely be opposed. The defendant now respectfully requests
11   this Court order that Smith’s self-surrender date be continued approximately 60 days, from the
12   currently set March 10, 2014 to May 12, 2014, at 2:00 p.m.
13                                            STIPULATION
14          WITH THE COURT’S PERMISSION, it is hereby stipulated between the United States
15   and the defendant Lynn Smith that Mr. Smith’s self-surrender date be continued by the Court
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1    from March 10, 2014 at 2:00 p.m. to May 12, 2014 at 2:00 p.m and that he is ordered to appear
2    on that date at the institution designated by the United States Bureau of Prisons or at the United
3    States Marshall’s Office, 501 I Street, Sacramento, CA.
4

5    Dated: February 6, 2014                              /s/ William J. Portanova
                                                          _____________________________
6
                                                          WILLIAM J. PORTANOVA
7                                                         Attorney for Lynn Ferrell Smith

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     Dated: February 6, 2014                              /s/ Richard J. Bender
9                                                         _____________________________
                                                          RICHARD J. BENDER
10
                                                          Supv. Assistant United States Attorney
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     IT IS SO ORDERED.
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     Dated: February 7, 2014
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